Case 20-13076-elf        Doc 74     Filed 09/23/22 Entered 09/23/22 09:41:49               Desc Main
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                         UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

IN RE:          KEITH B. KRATZKE                        :       Chapter 13
                JANET C. KRATZKE,                       :
                                                        :
                                Debtors                 :       Bky. No. 20-13076 ELF

                                             ORDER

        AND NOW, upon consideration of the Debtors’ Motion for Leave to Sell Property Free
and Clear of All Liens, Interest and Encumbrances (“the Motion”) (Doc. # 73), and the request
for an expedited hearing thereon, and sufficient cause being shown, it is hereby ORDERED that:

1. The request for an expedited hearing is GRANTED.

2. A telephonic hearing to consider the Motion is scheduled on October 4, 2022, at 1:00 p.m.1


3. Written objections or other responsive pleadings to the Motion (while not required) may be
   filed up to the time of the hearing and all objections will be considered at the hearing.

4. The Movant shall serve the Motion and this Order on the case Trustee, the individual
   Respondent(s) (if any), all secured creditors and all priority creditors by regular mail,
   facsimile transmission or e-mail transmission no later than 5:00 p.m. on September 23,
   2022. Service under this Paragraph is effective if made to each party identified above
   through the court’s CM/ECF system.

5. The Movant shall file a Certification of Service as required by Local Rule 9014-4.




Date: September 23, 2022
                                                ERIC L. FRANK
                                                U.S. BANKRUPTCY JUDGE




        1
               Instructions for appearing by telephone may be found on the court's website at:
https://www.paeb.uscourts.gov/file/conference-call-numbers.
